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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            :

                v.                                  :       CRIMINAL NO. 19-639

THOMAS WHALEN                                       :


                     GOVERNMENT’S SENTENCING MEMORANDUM

  I.   INTRODUCTION

       On December 16, 2019, the defendant, Thomas Whalen, pleaded guilty to a four-count

Information charging him with one count of health care fraud, in violation of 18 U.S.C. § 1347,

one count of importation contrary to law, in violation of 18 U.S.C. § 545, and two counts of

knowingly and intentionally distributing and dispensing oxycodone, in violation of 21 U.S.C. §

841(a)(1), (b)(1)(C). On September 15, 2020, Whalen is set to appear before this Court to be

sentenced for these offenses.

       Whalen, a licensed rheumatologist during the commission of these crimes, abused his

education, training, and position for his own personal benefit. From in or about January 2014

until in or about March 2018, Whalen fraudulently billed Medicare, the United States Office of

Personnel Management (“OPM”), and Independence Blue Cross insurance company (“IBC”) for

FDA-approved injectable medications Remicade (infliximab), Orencia (abatacept),

Prolia/Xgenva (denosumab), Synvisc/Synvisc One (hyaluronan), and Boniva (ibandronate

sodium), despite purchasing and injecting his patients with cheaper, foreign, non-FDA approved

variants of these drugs.

       Whalen also prescribed oxycodone to two patients that he knew abused illicit drugs,

including cocaine and heroin. Between January 2016 and April 2018, Whalen prescribed
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approximately 3,765 oxycodone pills to these patients, despite their repeated, positive urine drug

test results for street narcotics.

        The U.S. Probation Office accurately calculated Whalen’s advisory Sentencing

Guidelines range as 46 to 57 months. Given the severity of Whalen’s crimes—which include

fraud in excess of $1.1 million and the potential harm to the community of introducing powerful

and deadly painkillers onto the streets—a Guidelines sentence is appropriate.

 II.    FACTUAL SUMMARY

        From in or about January 2014 to in or about March 2018, Whalen, a doctor of osteopathic

medicine in the Commonwealth of Pennsylvania and the State of Delaware, engaged in a scheme

to defraud wherein he imported into the United States foreign, non-FDA approved injectable

medications and falsely billed Medicare, OPM, and IBC by submitting claims for those injectable

medications as if they were the FDA-approved versions. From January 2014 to March 2018,

Whalen billed Medicare, OPM and IBC a total of approximately $2.3 million and was paid

approximately $1.1 million for the provision of injectable medications, despite using cheaper,

foreign, non-FDA approved substitutes. Rather than purchase Remicade, Synvisc, Synvisc-One,

Orencia, Prolia/Xgeva, or Boniva from authorized distributors, Whalen purchased non-FDA

approved versions of these injectable medications from suppliers outside of the United States.

Then, unbeknownst to his patients, Whalen injected or infused them with non-FDA approved

variations of these medicines at his offices in the Eastern District of Pennsylvania. The defendant

benefited from this scheme because the cost of injectable medications are reimbursed directly to

the rendering physician by Medicare, OPM, and IBC. By billing for FDA-approved drugs while

supplying cheaper, foreign substitutes, Whalen pocketed the profits without regard to patient risk.




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       Whalen also knowingly and intentionally prescribed controlled substances outside the usual

course of professional practice and without a legitimate medical purpose. Whalen prescribed

Schedule II controlled substances to patients despite receiving aberrant urine drug test results for

those patients. The test results included positive results for illegal or illicit drugs, including cocaine

and heroin, and negative results for the Schedule II controlled substances that Whalen prescribed.

For the two patients identified in the Information, whose identities are known to the government

and to defendant, Whalen continued to prescribe Schedule II controlled substances outside the

course of professional practice and not for a legitimate medical purpose.

       Whalen received patient J.J.’s first positive drug test in January 2016, yet continued to

prescribe oxycodone, and other narcotics, up to and including April 2018, on seventeen occasions.

During this same period, Whalen received eight urine screening test results showing J.J. had taken

illicit drugs. Similarly, Whalen received patient D.M.’s first positive drug test in October 2016,

yet continued to prescribe oxycodone up to and including September 2017, on nine occasions.

During this same period, Whalen received four urine screening test results showing D.M. had taken

illicit drugs. For these two patients alone, Whalen issued and caused to be issued at least 33

prescriptions for oxycodone, the total weight for which was 53.26 grams. Oxycodone is a Schedule

II controlled substance.

III.      SENTENCING CALCULATION

              a. Statutory Maximum Sentence

          For a violation of 18 U.S.C. § 1347, the maximum statutory sentence is 10 years’

imprisonment, a $250,000 fine, 3 years of supervised release, and a $100 mandatory special

assessment.




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           For a violation of 18 U.S.C. § 545, the maximum statutory sentence is 20 years’

imprisonment, a $250,000 fine, 3 years of supervised release, and a $100 mandatory special

assessment.

           For a violation of 21 U.S.C. § 841(a)(1), the maximum statutory sentence is 20 years’

imprisonment, a $1,000,000 fine, 3 years of supervised release, and a $100 mandatory special

assessment.

           Thus, the total maximum penalties are 70 years’ imprisonment, a $2,500,000 fine, up to

three years of supervised release, full restitution, forfeiture, and a $400 special assessment.

              b. Sentencing Guidelines Calculation

           The government concurs with the Sentencing Guidelines as calculated by Probation.

Probation has prepared a PSI Report that accurately calculated the advisory Sentencing

Guidelines that apply to the defendant, and the government agrees that the defendant’s final

offense level is 23, calculated as follows:

      i.      Count 1: Health care fraud and aiding and abetting

                  a. Base Offense Level. Pursuant to U.S.S.G. §§ 2B1.1(a)(2), the base offense

                     level for a violation of 18 U.S.C. § 1347 is 6.

                  b. Specific Offense Characteristics. Pursuant to U.S.S.G. § 2B1.1(b)(1)(H),

                     Whalen is responsible for the actual loss of $1,116,845.02, which is the

                     amount he was paid by Medicare, OPM, and IBC for non-FDA approved

                     medications. Accordingly, 14 levels are added when the loss is more than

                     $550,000, but not more than $1,500,000 and establishes a base offense level

                     of 20.




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           c. Adjustment for Role in the Offense. Pursuant to U.S.S.G. § 3Bl.3, the offense

               level is increased by two points because the defendant—a physician—

               possessed a skill not held by members of the general public which required

               substantial education, training, and licensing. He also maintained a trust with

               his patients and the medical community. But Whalen abused that position of

               trust when he injected his patients with non-FDA approved pharmaceutical

               drugs, and billed federal and private health care programs as if those drugs

               were FDA-approved. This enhancement establishes an offense level of 22.

 ii.    Count 2: Importation contrary to law and aiding and abetting

           a. Base Offense Level: Pursuant to U.S.S.G. § 2T3.1(a)(1), the base offense

               level for a violation of 18 U.S.C.§ 545 is 4.

           b. Adjustment for the Role in the Offense: Pursuant to U.S.S.G. § 3Bl.3, the

               offense level is increased by two points because the defendant—a physician—

               possessed a skill not held by members of the general public which required

               substantial education, training, and licensing. He also maintained a trust with

               his patients and the medical community. Whalen abused that position of trust

               when he unlawfully imported non-FDA approved drugs into the United States

               as part of his health care fraud scheme. This enhancement establishes an

               offense level of 6.

iii.    Count 3: Unlawful distribution of a controlled substance

           a. Base Offense Level: Whalen was responsible for the distribution of 53.26

               grams of oxycodone, which was the equivalent of 356.842 kilograms of

               marijuana. Pursuant to U.S.S.G. § 3D1.2, counts involving “substantially the



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                   same harm shall be grouped together into a single Group.” Pursuant to

                   U.S.S.G. §§ 2D1.1(a)(5) & 2D1.1(c)(8), this conduct establishes an offense

                   level of 24.

               b. Specific Offense Characteristics: Whalen has met the criteria in U.S.S.G. §

                   5C1.2(a)(1)-(5) regarding limitation on applicability of statutory minimum

                   sentences in certain cases—the “safety valve” reduction. Eligibility for the

                   “safety valve” reduces Whalen’s offense level by 2 points, U.S.S.G. §

                   2D1.1(b)(18), and establishes an offense level of 22.

               c. Adjustment for Role in the Offense. Pursuant to U.S.S.G. § 3Bl.3, the offense

                   level is increased by two points because the defendant—a physician—

                   possessed a skill not held by members of the general public which required

                   substantial education, training, and licensing. He also maintained a trust with

                   his patients and the medical community. Whalen abused that position of trust

                   when he prescribed oxycodone outside the usual course of professional practice

                   and without a legitimate medical purpose to patients who Whalen knew were

                   diverted their prescriptions to obtain illegal narcotics . This enhancement

                   establishes an offense level of 24.

     iv.    Multiple Count Adjustments

               a. Pursuant to U.S.S.G. § 3D1.4(a), each Group of offenses is assigned a unit.

                   Here, Whalen is assigned two units, one for his health care fraud and a second

                   for his two distribution of a controlled substance offenses. 1 Pursuant to



1 Pursuant to U.S.S.G. § 3D1.4(c), Whalen’s second count for importation contrary to law and
aiding and abetting is disregarded because it “is 9 or more levels less serious than the Group with
the highest offense level.”

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                     U.S.S.G. § 3D1.4(a), those two units add two offense level points to Whalen’s

                     highest total offense level of 24, placing him at an offense level of 26.

                  b. Acceptance of Responsibility. Pursuant to U.S.S.G. §§ 3E1.1(a) and (b), the

                     offense level is reduced by a total of three points for acceptance of

                     responsibility (- 2 levels); and timely notification to authorities of his intent to

                     plead guilty (- 1 level).

       This results in a total offense level of 23. Whalen’s criminal history score is zero,

resulting in Category I. Thus, Whalen’s Guidelines range would be 46 months to 57 months of

imprisonment.

IV.    ANALYSIS OF SENTENCING FACTORS

           a. Legal Standard

       After the Supreme Court’s decision in United States v. Booker, 543 U.S. 220 (2005), the

Sentencing Guidelines have only advisory force, and the Court of Appeals for the Third Circuit

has thus interpreted Booker to require the following three steps:

                  (1) Courts must continue to calculate a defendant’s Guidelines sentence precisely

as they would have before Booker.

                  (2) In doing so, they must formally rule on the motions of both parties and state

on the record whether they are granting a departure and how that departure affects the Guidelines

calculation, and take into account our Circuit’s pre-Booker case law, which continues to have

advisory force.

                  (3) Finally, they are required to exercise their discretion by considering the

relevant § 3553(a) factors in setting the sentence they impose regardless of whether it varies

from the sentence calculated under the Guidelines.



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United States v. Charles, 467 F.3d 828, 830–31 (3d Cir. 2006) (citations omitted).

           b. A Sentence within the Guidelines Range is Warranted

       The Supreme Court has declared: “As a matter of administration and to secure

nationwide consistency, the Guidelines should be the starting point and the initial benchmark.”

Gall v. United States, 552 U.S. 38, 49 (2007). The Sentencing Guidelines remain an

indispensable resource for assuring appropriate and uniform punishment for federal criminal

offenses. Here, as noted above, the Guidelines yield an advisory range of 46 to 57 months’

incarceration. For the reasons set forth below, and after consideration of the 18 U.S.C. § 3553(a)

factors, it is the government’s position that the defendant should be sentenced to a term of

imprisonment within that Guidelines range.

                   i. Nature of the Offense and Characteristics of the Defendant

       Health care fraud is a serious offense that targets a national program relied on by millions

of Americans. Congress aptly summarized the effects of the defendant’s crime over thirty years

ago:

               In whatever form it is found . . . fraud in these health care
               financing programs adversely affects all Americans. It cheats
               taxpayers who must ultimately bear the financial burden of misuse
               of funds in any government-sponsored program. It diverts from
               those most in need, the nation’s elderly and poor, scarce program
               dollars that were intended to provide vitally needed quality health
               services.

H.R. 95-393, pt. II, at 44 (1977). See also H.R. Rep. 104-747 (1996) (“Everyone pays the price

for health care fraud: beneficiaries of Government health care insurance such as Medicare and

Medicaid pay more for medical services and equipment; consumers of private health insurance

pay higher premiums; and taxpayers pay more to cover health care expenditures.”).




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       The defendant, a doctor who completed medical school, opened a private medical

practice, and treated patients for decades, chose to abuse the trust that our society places in

doctors by stealing from a public health care program. In committing health care fraud and

importation contrary to law, Whalen placed his own financial greed over patient care when he

purchased cheaper, non-FDA approved medications to increase his profit margin. Whalen

knowingly imported cheaper, foreign, and non-FDA approved variants of the injectable

medications Remicade, Orencia, Prolia/Xgenva, Synvisc/Synvisc One, and Boniva. Then, he

fraudulently billed Medicare, OPM, and IBC for FDA-approved versions of these injectable

medications, despite injecting or infusing his patients with the foreign, non-FDA approved

medications. As a result of his fraudulent scheme, Whalen reaped profits of over $1.1 million.

       Moreover, as a trained, educated, and experienced doctor who worked for decades with

patients experiencing pain, Whalen knew the health risks that oxycodone posed to the

community at large. Nonetheless, he unlawfully distributed deadly painkillers to two patients

despite repeated evidence of their drug division and consumption of illicit street drugs. Whalen’s

actions contributed to the dire public health crisis gripping this district and the nation by

distributing oxycodone without a legitimate medical purpose. Accordingly, he should receive a

within-Guidelines sentence for his illicit conduct.

                   ii. The Need to Reflect the Seriousness of the Crime, to Promote Respect
                       for the Law, and to Provide Just Punishment

       Whalen’s crimes—borne of greed and dishonesty— were intentional and serious. Using

his privilege as a doctor, licensed to practice medicine, Whalen orchestrated a scheme to pilfer

funds from federal health care programs and a private insurance company. His devious efforts

stretched beyond short lapses in judgment. Rather, Whalen’s ploy lasted years in which he

knowingly and repeatedly placed orders for foreign medication, rather than order from


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authorized distributors within the United States, to reduce his own costs while ensuring that his

victims paid for the more expensive drugs he purported to use. Whalen’s use of non-FDA

medications risked harm to patients. But the scheme netted Whalen more than $1.1 million,

which he used to fund an expensive lifestyle, including purchase of a vacation home, a boat, and

exorbitant salaries paid to his children, who did not actually work at his medical office.

       Whalen also distributed, outside the course of professional practice and not for a

legitimate medical purpose, 3,765 pills of oxycodone at high dosage levels, during a time when

our nation is facing an opioid epidemic. Since 1999, the number of drug overdose deaths has

skyrocketed nationally, from 16,849 in 1999 to 70,237 in 2017. 2 Opioid deaths represent more

than 60% of all drug overdose related deaths in the United States. 3 The opioid epidemic is a

particular problem in the Commonwealth of Pennsylvania. In 2017, Pennsylvania had one of the

highest rates of death due to drug overdoses (44.3 per 100,000 people). 4 A sentence within the

Guidelines range will appropriately reflect the seriousness of all of Whalen’s criminal acts.

                  iii. The Need to Provide General and Specific Deterrence

       The need for general deterrence also weighs heavily in favor of a Guideline sentence. 18

U.S.C. § 3553(a)(2)(B) and (C). Fraud schemes like Whalen’s are typically difficult to detect and

prosecute, so there is a greater need for general deterrence. See, e.g., Harmelin v. Michigan, 501

U.S. 957, 988 (1991) (noting that “since deterrent effect depends not only upon the amount of

the penalty but upon its certainty, crimes that are less grave but significantly more difficult to


2See Centers for Disease Control and Prevention – National Center for Health Statistics (CDC –
NCHS), “Drug Overdose Deaths in the United States, 1999-2017,” available at
https://www.cdc.gov/nchs/data/databriefs/db329_tables-508.pdf#page=1.

3 See National Institute of Health – National Institute on Drug Abuse, “Overdose Death Rates,”
available at https://www.drugabuse.gov/related-topics/trends-statistics/overdose-death-rates.
4 See Centers for Disease Control and Prevention, “Drug Overdose Death,” available at

https://www.cdc.gov/drugoverdose/data/statedeaths.html.

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detect may warrant substantially higher penalties”). Moreover, because “economic and fraud-

based crimes are more rational, cool and calculated than sudden crimes of passion or

opportunity, these crimes are prime candidates for general deterrence.” See, e.g., United States v.

Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (quoting Stephanos Bibas, White–Collar Plea

Bargaining and Sentencing After Booker, 47 Wm. & Mary L. Rev. 721, 724 (2005)) (internal

quotation marks omitted)); United States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994)

(“Considerations of (general) deterrence argue for punishing more heavily those offenses that

either are lucrative or are difficult to detect and punish, since both attributes go to increase the

expected benefits of a crime and hence the punishment required to deter it.”); Drago Francesco,

Roberto Galbiati & Pietro Vertova, The Deterrent Effects of Prison: Evidence From a Natural

Experiment, 117 J. of Political Econ. 257, 278 (2009) (“Our findings provide credible evidence

that a one-month increase in expected punishment lowers the probability of committing a

crime. This corroborates the theory of general deterrence.”).

       Congress recognized the need to afford adequate deterrence as “particularly important in

the area of white collar crime” when it adopted Section 3553. See S. Rep. No. 98-225, at 76

(1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3259. Congress rightly was disturbed that “white

collar criminals often are sentenced to small fines and little or no imprisonment,” and noted that,

“[u]nfortunately, this creates the impression that certain offenses . . . can be written off as a cost

of doing business.” Id. In adopting the Section 3553 sentencing factors, Congress emphasized

the essential deterrent value of imprisoning white collar criminals, even when those criminals

themselves might be unlikely to reoffend:

               The Committee is of the view that in the past there have been
               many cases, particularly in the instances of major white collar
               crime, in which probation has been granted because the offender
               required little or nothing in the way of institutionalized

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                rehabilitative measures . . . and because society required no
                insulation from the offender, without due consideration being
                given to the fact that the heightened deterrent effect of
                incarceration and the readily perceivable receipt of just punishment
                accorded by incarceration were of critical importance. The placing
                on probation of [a white collar criminal] . . . may be grossly
                inappropriate . . . in cases in which the circumstances mandate the
                sentence’s carrying substantial deterrent or punitive impact.

Id. at 91-92.

        Whalen’s punishment should take into account the need to deter other doctors from

stealing from health care programs. Health care fraud is a serious problem that has warranted

national law enforcement attention. Although federal law provides significant periods of

incarceration for those who steal from these programs, this fraud continues at alarmingly high

rates. In determining a just sentence, the Court should consider the need to promote respect for

the criminal fraud laws. Here, a sentence within the Guidelines range will serve to deter doctors,

and other medical professionals, who, like the defendant, may be tempted to place their financial

interests above all else. A within Guidelines sentence will also afford adequate deterrence against

medical professionals, like Whalen, who abused their privileges to unlawfully distribute

oxycodone to patients already reeling from the effects of the opioid epidemic.

                   iv. The Need to Provide the Defendant with Training, Medical Care, or
                       Other Correctional Treatment

        Whalen holds a doctorate of osteopathic medicine and he was a licensed physician at the

time of the commission of the offenses. According to Probation’s presentence investigation

report, he graduated from the Philadelphia College of Osteopathic Medicine in 1979.

                   v. The Sentencing Commission’s Guidelines and Policy Statements

        Pursuant to U.S.S.G. § 1B1.2, the defendant stipulated that he committed health care

fraud and deprived Medicare, OPM, and IBC of more than $550,000, but not more than

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$1,500,000 in violation of 18 U.S.C. § 1347. Under U.S.S.G. § 3D1.2(b), this conduct is grouped

with the conduct charged in Count 1 of the Information, and under U.S.S.G. § 3D1.3(a), the

higher offense level of the grouped counts controls. Under U.S.S.G. § 3D1.4(a), Whalen’s

highest offense level (here, two counts of knowingly and intentionally distributing and

dispensing, outside the course of professional practice and not for a legitimate medical purpose, a

mixture and substance containing a detectable amount of oxycodone) increases by two points to

account for the one count of health care fraud. After accounting for his acceptance of

responsibility and his timely notification to the government of his intent to plead guilty,

Whalen’s offense level is a 23.

                  vi. The Need to Avoid Unwarranted Sentencing Disparities

       The need to avoid unwarranted sentencing disparities may be achieved through the

careful calculation and review of the Guidelines range. See, e.g., Gall, 552 U.S. at 54 (“Since the

District Judge correctly calculated and carefully reviewed the Guidelines range, he necessarily

gave significant weight and consideration to the need to avoid unwarranted disparities.”).

                  vii. The Need to Provide Restitution

       Whalen must pay restitution of $1,116,845.02. During the scheme, Whalen was paid the

following amounts by the three victims:

       Medicare: $832,662.15
             U.S. Centers for Medicare & Medicaid Services
             7500 Security Boulevard
             Baltimore, MD 21244

       IBC: $259,345.32
              ATTN: Bob Climaldi
              1901 Market Street, 42nd Floor
              Philadelphia, PA 19103

       OPM: $24,837.55
             U.S. Office of Personnel Management


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               900 Market Street, Suite 600
               Philadelphia, PA 19107


Whalen is in the process of negotiating a civil settlement agreement with the Civil Division of

the U.S. Attorney’s Office. Any restitution amount allocated in the civil agreement will be

applied towards the criminal restitution amount owed to federal health care plans.

 V.    CONCLUSION

       Accordingly, for the reasons stated above, the government respectfully recommends a

sentence within the advisory Guidelines range of 46 to 57 months’ imprisonment, followed by

three years of supervised release, and a $400 special assessment.

                                                     Respectfully submitted,

                                                     WILLIAM M. MCSWAIN
                                                     United States Attorney


                                                     /s/ Paul J. Koob                     .
                                                     PAUL J. KOOB
                                                     Assistant United States Attorney

                                                     /s/ Debra Jaroslawciz                 .
                                                     DEBRA JAROSLAWICZ
                                                     DOJ Trial Attorney




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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing Government’s Sentencing Memorandum

was served upon the following by electronic filing:

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                                                       /s/ Paul J. Koob                  .
                                                      Paul J. Koob
                                                      Assistant United States Attorney

Dated: September 8, 2020




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